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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 THOMAS J. NESTOR,

        Plaintiff,

 v.
                                                 Dispositive Motion
                                                 Case No.: 8:20-cv-00265-CEH-TGW

 VPC3 II, LLP,
 a Florida Limited Liability
 and N.E. APARTMENTS
 ASSOCIATES, INC.,
 a Florida Corporation,
 JUDGE JACK DAY
 In his official capacity for declaratory judgment only,
 Defendants.,

       Defendants.
 _____________________________________/

      DEFENDANT JUDGE JACK DAY’S MOTION TO DISMISS [SECOND]
                  AMENDED COMPLAINT (DOC. 12)

        COMES NOW, Defendant Judge Jack Day by and through undersigned

 counsel, and hereby moves to dismiss the claims asserted in the Second Amended

 Complaint (Doc. 12), hereinafter “SAC”, filed by Plaintiff Thomas J. Nestor. Pursuant

 to Rules 12(b)(1) and (6) of the Federal Rules of Civil Procedure, Plaintiff’s claims fail

 for lack of subject-matter jurisdiction and due to failure to state a claim upon which

 relief can be granted. Since amendment would be futile, this case should be dismissed

 with prejudice.
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                             MEMORANDUM OF LAW

 I.   Facts and Procedural Background

       Plaintiff sues Judge Jack Day, retired judge of Florida’s Sixth Judicial Circuit

 in his official capacity, N.E. Apartments Associates, Inc., a Florida corporation, and

 VPC3 II, LLP, a Florida limited liability partnership. (Doc. 12 at 1). The injuries which

 Plaintiff seeks to redress in the instant action occurred during his state court breach of

 contract case concerning a real estate transaction presided over by the Judge Day.

 (Doc. 12, ¶¶ 22, 24).

       Plaintiff, through his attorneys, initiated this action with the filing of his

 Complaint (Doc. 1) on February 3, 2020. Prior to serving any of the Defendants,

 Plaintiff filed an Amended Complaint (Doc. 6) on June 2, 2020. After the Amended

 Complaint was dismissed by the Court sua sponte because it constituted an

 impermissible shotgun pleading (Doc. 11), Plaintiff filed a Second Amended

 Complaint (Doc. 12), which is erroneously titled “Amended Complaint.” For clarity

 and ease of reference, the Second Amended Complaint (Doc. 12) will be referred to as

 the “SAC” herein. The Court’s dismissal order directed Plaintiff to ensure that any

 subsequent complaint avoided shotgun pleading pitfalls and complied with applicable

 pleading requirements. (Doc. 6 at 2). The dismissal order provided a helpful roadmap

 to Plaintiff on how to remedy the multitude of pleading deficiencies and even pointed

 out that Count V had been mislabeled as Count VI. Id. Rather than heeding the Court’s

 warnings and redrafting this woefully deficient pleading, Plaintiff filed a virtually

 identical subsequent complaint at the eleventh hour on September 14, 2020. (Doc. 12).
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 Plaintiff willfully ignored the Court’s directive to correct his pleading deficiencies, so

 much so that he didn’t even bother to retitle the pleading or correctly label Count V.

 (Doc. 12 at 2, 22).

       In the five-count SAC, Plaintiff asserts claims for “due process right to a

 hearing” (Count I); “14th Amendment right to an impartial trial” (Count II); “unjust

 enrichment” (Count III); “Fifth Amendment due process violation” (Count IV); and

 “violations of the Americans with Disabilities Act” (Count V – again mislabeled as

 Count VI). Plaintiff recounts the events of his state court case which serves as the basis

 for the instant action in painstaking detail over the course of 17 pages and 147

 paragraphs. (Doc. 12, pp. 3-20, ¶¶ 1-147).

 Plaintiff has made the following allegations concerning Judge Day:

 i. Judge Day presided over Plaintiff’s state court breach of contract case filed on

    March 23, 2014 in Pinellas County Circuit Court. (Doc. 12, ¶¶ 22, 24).

ii. Plaintiff’s state court case concerned a real estate transaction for a landmark

    historic building in St. Petersburg which had previously served as a YMCA. (Doc.

    12, p. 3, ¶¶ 1-25).

iii. Plaintiff intended to purchase the YMCA Building from Defendant VPC3 II, LLP

    pursuant to a Purchase Contract and redevelop it into an entertainment venue

    (Doc. 12, ¶¶ 9-11), but a dispute regarding assignability of the Purchase Contract

    arose and the transaction fell through, leading Plaintiff to file suit in state court.

    (Doc. 12 at pp. 3-6).



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 iv. On June 26, 2014, Plaintiff and Defendant VPC3 II, LLP entered into a Settlement

     Agreement to resolve the issues in the state court case. The Settlement Agreement

     also allowed another party into the litigation, Defendant N.E. Apartments

     Associates, Inc. (Doc. 12, ¶ 30-31). Judge Day ratified this Settlement Agreement.

     (Id. at ¶ 32).

 v. Pursuant to the Settlement Agreement, Plaintiff and Defendants VPC3 II, LLP and

     N.E. Apartments Associates, Inc. “reinstated” the Purchase Contract for the sale

     of the YMCA Building. (Doc. 12, ¶ 32). However, due to a number of events and

     convoluted issues regarding assignability of the Purchase Contract to various

     entities explained over the course of 50 paragraphs (Doc. 12, ¶¶ 33-83) in the SAC,

     the sale once again fell through. (Doc. 12, ¶ 83).

 vi. On July 23, 2014, Defendants VPC3 II, LLP and N.E. Apartments Associates, Inc.

     filed Emergency Motions to Enforce the Settlement Agreement and a hearing was

     held before Defendant Judge Day on September 4, 2014. (Doc. 12, ¶¶ 84-85, 112).

vii. The hearing on these motions was originally scheduled for July 30, 2014 but was

     reset to September 4, 2014 by Defendant Judge Day pursuant to a motion from

     counsel for Defendant VPC3 II, LLP. (Doc. 12, ¶ 112). The September 4, 2014

     hearing had been noticed for 30 minutes. (Doc. 12, ¶ 113).

viii. Plaintiff alleges that during the September 4, 2014 hearing, Co-Defendants

     attempted to confuse and defraud Defendant Judge Day by misrepresenting and

     omitting important facts and offering perjured testimony. (Doc. 12, ¶¶ 85, 115-18).



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 ix. At the hearing on September 4, 2014, Defendant Judge Day permitted the Co-

     Defendants to present slides on a projector screen, submit a tabbed notebook with

     hearing exhibits, and use Plaintiff’s deposition testimony transcript to support their

     argument. (Doc. 12, ¶¶ 120-22).

 x. After Co-Defendants completed their in-court presentation at the September 4,

     2014 hearing, Defendant Judge Day ruled in Co-Defendants’ favor and

     subsequently issued a non-final order to this effect on September 19, 2014. (Doc.

     12, ¶¶ 86-87, 125).

 xi. Defendant Judge Day’s September 19, 2014 Order memorialized the in-court

     ruling finding that Plaintiff had materially breached the Purchase Agreement

     through an assignment to an unrelated entity and failure to pay the correct amount

     by 5 p.m. on the scheduled closing day. (Doc. 12, ¶¶ 145-46).

xii. After the ruling, counsel for Plaintiff objected, arguing that Defendant Judge Day

     had not reviewed any of Plaintiff’s exhibits or heard testimony from Plaintiff.

     Plaintiff alleges that Defendant Judge Day refused to let Plaintiff present his

     evidence or allow Plaintiff or his witness, who was also present in court, to testify

     in Plaintiff’s favor. (Doc. 12, ¶¶ 126-31). Plaintiff submits that these actions

     amounted to a denial of an evidentiary hearing. (Doc. 12, ¶ 127).

xiii. Plaintiff submits that Defendant Judge Day stated that the September 4, 2014

     hearing was “not an evidentiary hearing” though earlier in the hearing and prior to

     issuing his ruling, Judge Day had stated there “may be a need for [an evidentiary

     hearing]” and that “[i]t’s starting to sound like it.” (Doc. 12, ¶¶ 135-36).
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 xiv. At the September 4, 2014 hearing, Defendant Judge Day stated that he had

      reviewed a large volume of material submitted by Co-Defendants. Counsel for

      Plaintiff advised Defendant Judge Day that Plaintiff had not had an opportunity to

      read the transcript for two days of his deposition, and Judge Day responded: “I

      can’t bog this thing down for -- my next hearing time is available in January,

      okay?”. (Doc. 12, ¶¶ 137-140).

 xv. After issuing his ruling, Defendant Judge Day required that Plaintiff proffer some

      evidence for possible consideration. (Doc. 12, ¶ 141-42).

 xvi. On September 22, 2014, Plaintiff appealed Defendant Judge Day’s decision to the

      Second District Court of Appeals. (Doc. 12, ¶ 88). While the appeal was still in its

      early stages and prior to the submission of Plaintiff’s Initial Brief, Defendant VPC3

      II, LLP sold the YMCA Building to Defendant N.E. Apartments Associates, Inc.,

      the back-up purchaser named in the Settlement Agreement. (Id. at ¶¶ 30, 89).

xvii. The Second DCA denied Plaintiff’s appeal on September 25, 2015 and issued a per

      curiam affirmance of Defendant Judge Day’s order without an accompanying

      written opinion. (Doc. 12, ¶ 100-01).

xviii. Plaintiff subsequently motioned the Second DCA for a written opinion,

      certification, rehearing and rehearing en banc. Plaintiff sought a written opinion for

      a better opportunity at appealing to the Florida Supreme Court. (Doc. 12, ¶¶ 102-

      03). The Second DCA denied said motion and issued a mandate on December 30,

      2015. (Doc. 12, ¶¶ 104-05).



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xix. Plaintiff then unsuccessfully motioned the Florida Supreme Court to review the

     case; a master dismissal order was entered on March 8, 2017. (Doc. 12, ¶¶ 106-08).

        Plaintiff requests preliminary and permanent injunctive relief, damages,

  declaratory relief and attorneys’ fees. (Doc. 12, p. 2, ¶¶ 2-4). Plaintiff asserts four

  Counts against Defendant Judge Day, all brought pursuant to 42 U.S.C. § 1983: Count

  I - “due process right to a hearing”; Count II - “14th Amendment right to an impartial

  trial”; Count IV - “Fifth Amendment due process violation”; and Count V, again

  mislabeled as Count VI - “violations of the Americans with Disabilities Act.” Plaintiff

  requests that this Court order a remand of the state court case for full evidentiary

  review and for compensatory damages, attorney’s fees and costs or alternatively enter

  a declaratory judgment in Plaintiff’s favor finding Plaintiff complied with the closing

  requirements in the Purchase Contract and is the rightful owner of the YMCA

  Building. (Doc. 12, p. 24 ¶¶ 1-3).

  II. Legal Standards Under Rules 12(b)(1) and 12(b)(6)

        “Subject matter jurisdiction must be affirmatively shown in the record before

  considering the merits of any case.” Ramirez v. Gonzalez, No. 6:08-cv-20-Orl-19-GJK,

  2008 WL 190589, at *1 (M.D. Fla. Jan. 22, 2008) (citing Sweet Pea Marine, Ltd. v. APJ

  Marine, Inc., 411 F.3d 1242, 1247 (11th Cir. 2005)). If at any point during a proceeding

  a court determines it lacks subject matter jurisdiction, it must dismiss the action. Fed.

  R. Civ. P. 12(h)(3); Lazarre v. JPMorgan Chase Bank, N.A., 780 F. Supp.2d 1320, 1323-

  24 (S.D. Fla. 2011).



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        In ruling on a motion to dismiss under Rule 12(b)(6), the Court accepts as true

 all of the allegations contained in the complaint and construes them in light most

 favorable to the plaintiff. Jackson v. Bellsouth Telecomms., 372 F.3d 1250, 1262 (11th Cir.

 2004). Under Fed. R. Civ. P. 8(a)(2), a pleading must contain a “short and plain

 statement of the claim showing that the pleader is entitled to relief.” “While a

 complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

 allegations, a plaintiff’s obligation to provide the ‘grounds’ of his entitle[ment] to relief

 requires more than labels and conclusions, and a formulaic recitation of the elements

 of a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

 (internal citations omitted). “Factual allegations must be enough to raise a right to

 relief above the speculative level.” Id. While “the pleading standard Rule 8 announces

 does not require detailed factual allegations…it demands more than an unadorned, the

 defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678

 (2009). Further, courts are not “bound to accept as true a legal conclusion couched as

 a factual allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986).

        A complaint may be dismissed if the facts plead do not “state a claim to relief

 that is plausible on its face.” Twombly, 550 U.S. at 556. “A claim has facial plausibility

 when the plaintiff pleads factual content that allows the court to draw the reasonable

 inference that the defendant is liable for the alleged misconduct.” Id. The plausibility

 standard demands “more than a sheer possibility that a defendant acted unlawfully.”

 Iqbal, 556 U.S. at 678. Indeed, allegations showing “[t]he mere possibility the

 defendant acted unlawfully [are] insufficient to survive a motion to dismiss.”
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 Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009). Therefore, “[w]here

 a complaint pleads facts that are merely consistent with a defendant’s liability, it stops

 short of the line between possibility and plausibility of entitlement to relief.” Id.

 (internal quotations omitted).

 III. Argument

       A. The Second Amended Complaint Fails for Lack of Subject-Matter
          Jurisdiction.

           i. The Court lacks subject-matter jurisdiction pursuant to the Rooker-
              Feldman doctrine.

       Though Plaintiff haphazardly asserts claims for alleged civil rights violations,

 his pleading is a de facto improper collateral attack on an unfavorable state court ruling.

 To the extent Plaintiff is seeking review of a state court ruling or judgement, this Court

 lacks jurisdiction over such claims under the Rooker-Feldman doctrine. See D.C. Ct. of

 Appeals v. Feldman, 460 U.S. 462 (1983); Rooker v. Fidelity Trust Co., 263 U.S. 413

 (1923). “The doctrine is a jurisdictional rule that precludes the lower federal courts

 from reviewing state court judgments.” Alvarez v. Att’y Gen. for Fla., 679 F.3d 1257,

 1262 (11th Cir. 2012). This jurisdictional bar “extends not only to constitutional claims

 presented or adjudicated by a state court, but also to claims that are ‘inextricably

 intertwined’ with a state court judgment.” Incorvaia v. Incorvaia, 154 F. App’x 127, 128

 (11th Cir. 2005) (internal citations omitted). A federal claim is inextricably intertwined

 with a state court judgment if the federal claim succeeds only to the extent that the

 state court wrongly decided the issues before it. Goodman ex. rel Goodman v. Sipos, 259


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 F. 3d 1327, 1332 (11th Cir. 2001). See also Alvarez v. Attorney Gen. for Fla., 679 F.3d

 1257, 1262 (11th Cir. 2012) (holding that the doctrine is confined to “cases brought by

 state-court losers complaining of injuries caused by state-court judgments rendered

 before the district court proceedings commenced and inviting district court review and

 rejection of those judgments). The doctrine bars federal court jurisdiction where the

 following factors exists: (1) the party in federal court is the same as the party in state

 court; (2) the prior state court ruling was a final or conclusive judgment on the merits;

 (3) the party seeking relief in federal court had a reasonable opportunity to raise its

 federal claims in the state court proceeding; and (4) the issue before the federal court

 was either adjudicated by the state court or was inextricably intertwined with the state

 court's judgment. Nicholson v. Shafe, 558 F.3d 1266, 1272 (11th Cir. 2009).

       Here, all four elements of the Nicholson test are met. With respect to the first

 element, the parties here are the same as in the state court case. As to the second

 element of the test, Plaintiff’s state court breach of contract case ended in a final order

 in favor of the Co-Defendants, entered on June 10, 2015 nunc pro tunc to September

 19, 2014 resolving the case on the merits and finding Plaintiff to have breached the

 contract. (Doc. 12, ¶ 95). The third Nicholson element has also been met, as Plaintiff

 filed a subsequent unsuccessful appeal to Florida’s Second District Court of Appeals

 and then an unsuccessful motion for review to the Florida Supreme Court. (Doc. 12,

 ¶¶ 88, 99-108). On appeal, Plaintiff unsuccessfully made the same arguments as he

 does here – that he was wrongfully denied an evidentiary hearing. (Doc. 12, ¶ 99). As

 to the fourth Nicholson factor, Plaintiff is expressly dissatisfied with the outcome of
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 Judge Day’s ruling at the September 14, 2014 hearing and seeks precisely the type of

 review prohibited by the Rooker-Feldman doctrine. 1 Plaintiff is the state court loser in

 his state court breach of contract case and his grievances against the Defendants herein

 are inextricably intertwined with the state court decision. The instant case is Plaintiff’s

 attempt at a Hail Mary after the clock has run out and should be rejected.

        Accordingly, this Court should not exercise jurisdiction over Plaintiff’s claims

 and dismiss the instant case with prejudice pursuant to the Rooker-Feldman doctrine.

         B. The Second Amended Complaint Fails to State a Claim Upon Which
            Relief Can Be Granted.

        To the extent that the Second Amended Complaint may be construed to state a

 cause of action not jurisdictionally barred under the Rooker-Feldman doctrine, the SAC

 is further subject to dismissal for the bevy of reasons described below.

            i. The Second Amended Complaint is a shotgun pleading due to be
               dismissed.

        The Court previously dismissed Plaintiff’s Amended Complaint for violating

 federal and local pleading rules and presenting claims though an unacceptable shotgun

 pleading that wasted the Court’s time and failed to articulate claims with enough

 clarity to permit Defendants to frame a responsive pleading. See Doc. 11. Rather than

 submitting a conforming pleading on his third attempt to state these claims, Plaintiff’s

 two attorneys filed a virtually identical Second Amended Complaint that did not so




 1
   Plaintiff requests a declaratory judgment in his favor finding Plaintiff complied with the closing
 requirements for the YMCA Building and is its rightful owner. See Doc. 12, p. 2, ¶.

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 much as attempt to remedy any of the pleading deficiencies pointed out by the Court.

 Indeed, Plaintiff’s counsel did not even bother to retitle the rejected pleading or

 number the Counts correctly. The only changes between the First Amended

 Complaint and the Second Amended Complaint appear to be: 1) a “consolidated”

 Statement of Facts, shortened from 150 paragraphs to 147 paragraphs;              and 2)

 signature blocks for Plaintiff’s counsel in the Certificate of Service now appear

 vertically, rather than side by side. (See Doc. 6 at pp. 20, 26; Doc. 12 at pp. 20, 26).

 The SAC is an impermissible shotgun pleading that flagrantly ignores the Court’s

 order requiring redrafting and should be dismissed.

          ii. Plaintiff’s claims against Judge Day are barred by the statute of
              limitations.

       The Eleventh Circuit has held that federal courts apply a state’s statute of

 limitations for personal injury actions to complaints brought under 42 U.S.C. § 1983.

 Thus, the four-year limitations period in § 95.11(3), Fla. Stat., applies to § 1983 claims

 arising in Florida. See Ellison v. Lester, 275 F. App’x 900, 901 (11th Cir. 2008). In

 Florida, a Plaintiff must commence § 1983 claim within four years of the allegedly

 unconstitutional or otherwise illegal act. McGroarty v. Swearingen, 977 F.3d 1302, 1307

 (11th Cir. 2020). The statute of limitations begins to run when “the facts which would

 support a cause of action are apparent or should be apparent to a person with a

 reasonably prudent regard for his rights.” Lovett v. Ray, 327 F.3d 1181, 1182 (11th Cir.

 2003) (internal citation omitted).




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        The SAC alleges that Defendant Judge Day violated Plaintiff’s constitutional

 rights while conducting a motion hearing in Pinellas County Circuit Court on

 September 4, 2014. Accordingly, Plaintiff’s claim accrued on September 4, 2014 and

 his deadline to file a § 1983 action was September 4, 2018, four years from the date of

 that hearing. Plaintiff, however, did not commence the instant action until February

 3, 2020. (Doc. 1). Thus, all of Defendant Judge Day’s allegedly unconstitutional acts

 are time barred and due to be dismissed. See Vanbenthuysen v. Florida, 427 F. App’x

 864, 866-67 (11th Cir. 2011) (affirming dismissal with prejudice of § 1983 claims based

 on entry of orders in divorce proceeding occurring more than four years before filing

 of § 1983 complaint).

        Plaintiff’s subsequent pursuit of appeals through the state court system did not

 toll the statute of limitations. The Eleventh Circuit has instructed district courts to look

 to state law in deciding whether to toll the statute of limitations in a § 1983

 case. See Lawson v. Glover, 957 F.2d 801, 805 (11th Cir. 1987) (deferring to the Georgia

 Court of Appeals’ interpretation of the Georgia tolling statute); see also Lewis v. Broward

 Cty. Sch. Bd., 489 F. App'x 297, 298–99 (11th Cir. 2012). By statute, Florida law tolls

 the applicable statute of limitations in nine enumerated circumstances. See Fla. Stat. §

 95.051(1). The foregoing statutory list is exhaustive. See Major League Baseball v.

 Morsani, 790 So. 2d 1071, 1075 (Fla. 2001) (holding that § 95.051 delineates an

 exclusive list conditions that can toll the applicable statute of limitations). None of the

 nine enumerated conditions set out in the Florida tolling statute applies here.



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 Accordingly, Plaintiff’s claims against Defendant Judge Day are time-barred and due

 to be dismissed.

          iii. Judge Day in his official capacity is not a proper defendant in a § 1983
               action and Plaintiff’s claims are barred by sovereign immunity.

        Plaintiff asserts that he is suing Judge Day in his official capacity pursuant to 42

 U.S.C. § 1983. To state a cognizable claim under 42 U.S.C. § 1983, a plaintiff must

 allege the deprivation of a constitutional or federal statutory right by someone acting

 under of state law. Doe v. Sch. Bd. of Broward Cty., Fla., 604 F.3d 1248, 1265 (11th Cir.

 2010). Section 1983 authorizes assertion of a claim for relief against a “person” who

 acted under color of state law. A suable § 1983 “person” encompasses state and local

 officials sued in their personal capacities, municipal entities, and municipal officials

 sued in an official capacity, but not states and state entities. A claim against a state or

 municipal official in her official capacity is treated as a claim against the entity itself.

 Kentucky v. Graham, 473 U.S. 159, 166 (1985). Florida’s Sixth Judicial Circuit is a state

 entity and a claim against Judge Day in his official capacity is treated as a claim against

 the Sixth Judicial Circuit. Because a state entity is not a proper defendant in a § 1983

 action, the official capacity claim against Judge Day is likewise improper. See Will v.

 Michigan Dep't of State Police, 491 U.S. 58, 71 (1989) (holding that a state is not a

 “person” liable to suit under § 1983).




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         Additionally, to the extent that the SAC can be read to seek damages 2 against

 Judge Day in his official capacity, such damages are barred by the Eleventh

 Amendment to the United States Constitution. Absent waiver or an abrogation by

 Congress, the Eleventh Amendment is an absolute bar to actions for damages in

 federal courts against a state or one of its agencies. Gamble v. Fla. Dep’t of Health &

 Rehab. Svcs., 779 F.2d 1509, 1511 (11th Cir. 1986). An assertion of Eleventh

 Amendment immunity challenges a court’s subject matter jurisdiction and “must be

 resolved before a court may address the merits of the underlying claim(s).” Seaborn v.

 State of Fla., Dep’t of Corrs., 143 F.3d 1405, 1407 (11th Cir. 1998). Moreover, Florida

 has not waived its Eleventh Amendment sovereign immunity and consented to suit in

 federal court. Section 768.28(16), Fla. Stat., provides:

                No provision of this section, or of any other section of the Florida
                Statutes, whether read separately or in conjunction with any other
                provision, shall be construed to waive the immunity of the state or any
                of its agencies from suit in federal court, as such immunity is guaranteed
                by the Eleventh Amendment to the Constitution of the United States,
                unless such waiver is explicitly and definitely stated to be a waiver of
                the immunity of the state and its agencies from suit in federal court...

 This bar applies to suits for damages. Eleventh Amendment immunity is jurisdictional

 and fundamental in nature. See Ford Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 467

 (1944). State courts are considered “arms of the state” and are immune from suit under

 the Eleventh Amendment. Kaimowitz v. Fla. Bar, 996 F.2d 1151, 1155 (11th Cir. 1993);


 2
   While the caption and party identification segments of the SAC indicate that Judge Day is being
 sued “[i]n his official capacity for declaratory judgment only” (Doc. 12 at p. 1; p. 3, ¶ 9) other portions
 of the SAC could potentially be read to assert a claim for damages against Judge Day. For example,
 in Count IV Plaintiff alleges that Judge Day’s conduct violated Plaintiff’s due process rights and
 caused Plaintiff’s damages. (Doc. 12, ¶¶ 172-73).

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 see also Caffey v. Ala. Supreme Ct., 469 F. App’x 748, 751 (11th Cir. 2012). Because

 Plaintiff sues Judge Day in his official capacity, Plaintiff’s claims are barred by the

 Eleventh Amendment.

          iv. Plaintiff’s claims against Judge Day are barred by judicial immunity.

       Judges are immune from liability for damages for acts committed in a judicial

 capacity and within their judicial discretion. Simmons v. Conger, 86 F.3d 1080, 1085

 (11th Cir. 1996). Judicial immunity protects judicial independence by “insulating

 judges from vexatious actions prosecuted by disgruntled litigants.” Forrester v. White,

 484 U.S. 219, 225 (1988). “[A] district court may dismiss a claim based on

 absolute judicial immunity if it represents an ‘obvious bar’ based on the allegations in

 the complaint.” Williams v. Ala., 425 F. App’x 824, 825 (11th Cir. 2011) (internal

 citations omitted). Judges are entitled to absolute judicial immunity from damages for

 those acts taken while they are acting in their judicial capacity unless they acted in the

 “clear absence of all jurisdiction.” Bolin v. Story, 225 F.3d 1234, 1239 (11th Cir. 2000).

 Absolute judicial immunity is applicable even when a judge’s acts are erroneous,

 malicious or in excess of the judge’s jurisdiction. See Williams, 425 F. App’x at 825.

 This absolute judicial immunity is intended to benefit the public interest of allowing

 judges the liberty to exercise their functions with independence and without fear of

 consequences. Stevens v. Osuna, 877 F.3d 1293, 1301 (11th Cir. 2017) (internal

 quotations omitted).

 The Eleventh Circuit has stated that:



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        [w]hether a judge’s actions were made while acting in his judicial capacity
        depends on whether: (1) the act complained of constituted a normal judicial
        function; (2) the events occurred in the judge's chambers or in open court; (3)
        the controversy involved a case pending before the judge; and (4) the
        confrontation arose immediately out of a visit to the judge in his judicial
        capacity.

       Id. (citing Scott v. Hayes, 719 F.2d 1562, 1565 (11th Cir. 1983)). All these facts

 exist here. On September 4, 2014, Judge Day presided over a motion hearing in open

 court pursuant to a case pending on his docket, issued a ruling on the motions argued,

 and subsequently memorialized the ruling in a preliminary and then final order. These

 are indisputably normal judicial functions. See, e.g., William B. Cashion Nev. Spendthrift

 Tr. v. Vance, 552 F. App'x 884, 887 (11th Cir. 2014) (“Entering orders is a normal

 judicial function occurring in judicial chambers.”); Abdul-Karim v. Dees, 772 F. App'x

 873, 874 (11th Cir. 2019) (“The complained-of act -- ruling on a party’s motion -- is a

 normal judicial function.”). The confrontation at issue here arose immediately out of

 that motion hearing. Because the acts complained of in the SAC constitute normal and

 quintessential judicial functions, absolute judicial immunity operates as an obvious bar

 to Plaintiff’s allegations against Defendant Judge Day. Although Plaintiff seeks

 injunctive and declaratory relief in addition to potential damages, the SAC fails to

 plead the existence of any exception allowing for injunctive relief in the face of judicial

 immunity and is also subject to dismissal to the extent it seeks declaratory and

 injunctive relief. See McCone v. Thorpe, No. 6:19-CV-883-ORL-41-GJK, 2020 WL

 1444032, at *3 (M.D. Fla. Mar. 25, 2020), aff'd, 828 F. App’x 697 (11th Cir. 2020).




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 Accordingly, judicial immunity applies here and bars Plaintiff’s § 1983 claims against

 Judge Day in their entirety. Murphy v. Stacy, 809 F. App’x 677, 682 (11th Cir. 2020).

       v.   Plaintiff fails to state a claim for ADA Title II violations.

       Plaintiff asserts that Defendant Judge Day violated Title II of the ADA but fails

 to explain what precisely Judge Day did that amounted to such a violation. Despite

 having recounted the events of his state court case with painstaking prolixity through

 147 paragraphs in the Statement of Facts, Plaintiff mentions this vague ADA

 allegation for the first time in haphazard fashion in Paragraph 174 on page 23 of the

 SAC. Plaintiff asserts that he is a “qualified person with a disability” and that he

 informed Judge Day of the disability and requested reasonable accommodation. (Doc.

 12, ¶¶ 179-180). Plaintiff does not articulate what this disability is, what

 accommodation he requested, or even that Judge Day denied the unnamed

 accommodation. Just how Judge Day discriminated against Plaintiff on the basis of

 this undisclosed disability is a mystery that cannot be unraveled from the woefully

 deficient facts pleaded in the SAC. In what is clearly a sloppy cut-and-paste job from

 a pleading in another case, Plaintiff states in Paragraph 182:

        These individuals are qualified to receive services in a more integrated setting
        and do not oppose receiving services in a more integrated setting. The relief
        sought would not constitute a “fundamental alteration” of the State’s
        behavioral health service system because the State already provides the services
        that the Patients require to live in a more integrated setting. , there is no defense
        for the State’s failure to provide services in a more integrated setting.

        Id. It is clear that the instant case has nothing to do with State-provided

 behavioral health services, nor is the State even named as a Defendant.

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        Title II of the ADA prohibits a public entity from discriminating against a

 disabled individual because of that person’s disability and provides that: [N]o qualified

 individual with a disability shall, by reason of such disability, be excluded from

 participation in or be denied the benefits of the services, programs, or activities of a

 public entity, or be subjected to discrimination by any such entity. Bircoll v. Miami-Dade

 Cty., 480 F.3d 1072, 1081 (11th Cir. 2007) (citing 42 U.S.C. § 12132). Title II protects

 a disabled plaintiff's right of access to the court system. Tennessee v. Lane, 541 U.S. 509,

 523, 529, 533-534 (2004). “In order to state a Title II claim, a plaintiff generally must

 prove: (1) that [s]he is a qualified individual with a disability; (2) that [s]he was either

 excluded from participation in or denied the benefits of a public entity’s services,

 programs, or activities, or was otherwise discriminated against by the public entity;

 and (3) that the exclusion, denial of benefit, or discrimination was by reason of the

 plaintiff’s disability.” Bircoll, 480 F.3d at 1083 (citing Shotz v. Cates, 256 F.3d 1077,

 1079 (11th Cir. 2001)). Here, Plaintiff has given a bare-bones recitation of the

 applicable law without pleading any facts to support his ADA claim.

        Title II is expected to apply in cases in which there is some physical, social or

 financial barrier to court access. See Tennessee, 541 U.S. at 523, 529, 533-534 (ADA

 protects a physically disabled litigant's right to access the court without any physical

 barriers, like stairs); McCauley v. Ga., 466 F. App’x 832, 835 (11th Cir. 2012) (Court

 found that for a plaintiff suffering from lupus erythematosus, access to court had been

 preserved because she was granted the accommodation of appearing at the hearing via

 telephone); Harrison v. Office of State Cts. Adm'r, No. 6:06-cv-1878-Orl-19UAM, 2007
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 WL 156351, at * 2 (M. D. Fla. May 30, 2007) (Court rejected plaintiff's argument that

 the denial of his request for a real time court reporter impaired his access to the court).

 Plaintiff does not allege that he was denied access to the state courts. At best, Plaintiff

 has vaguely complained about the way Defendant Judge Jack Day managed a hearing

 during the course of his state court case. Accordingly, Plaintiff has failed to state a

 cause of action under the ADA.

 IV. Conclusion

       Plaintiff’s claims fail because this Court lacks subject matter jurisdiction and

 Plaintiff cannot state any claim stemming from his state court action upon which relief

 may be granted by this Court. There is no plausible claim Plaintiff can articulate

 against Defendant Judge Day based on the alleged facts. Accordingly, any amendment

 to these claims would also be futile.

       WHEREFORE, Defendant Judge Jack Day respectfully requests that the Court

 dismiss this action with prejudice and award such other relief as the Court deems just

 and proper.

                                           Respectfully submitted,

                                           ASHLEY MOODY
                                           ATTORNEY GENERAL

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                             CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on January 29, 2021, I electronically filed the

 foregoing with the Clerk of Court by using the CM/ECF system which will send a

 notice of electronic filing to those persons capable of receiving such notice of electronic

 filing.

                                          /s/ Eugenia Izmaylova
                                          Senior Assistant Attorney General




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